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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION




                                                    Civil Action File No.: 1:21-cv-00135
 In re: Clearview AI, Inc. Consumer Privacy
 Litigation                                         Judge Sharon Johnson Coleman

                                                    Magistrate Judge Maria Valdez



PLAINTIFFS’ REPLY IN SUPPORT OF MOTION FOR DISCOVERY SANCTIONS AGAINST
                        THE CLEARVIEW DEFENDANTS

                                        INTRODUCTION

       While the Clearview Defendants’ (collectively, “Clearview”) Memorandum of Law in

Opposition to Plaintiffs’ Motion for Discovery Sanctions (Dkt. 539) (the “Response”) argues that

Plaintiffs’ discussion of the facts underpinning this motion “is neither accurate nor complete” id.

at 2, the Response itself lays out the pattern of non-compliance that has characterized

Clearview’s approach to discovery in this matter. Clearview admits that its initial production of

documents relating to Plaintiffs was incomplete, which mistake was discovered by Plaintiffs.

Clearview blames a “vendor error.” Id. at 3. Clearview admits that its supplemental production

was incomplete – again, as discovered by Plaintiffs – because responsive documents were

“mistakenly not produced.” Id. And Clearview admits that even after it provided the Court-

ordered verification “that their production of documents concerning the named Plaintiffs is fully

completed,” (Dkt. 425 at 5), its production of documents relating to Plaintiffs was still not

completed. This time the non-compliance – once again, discovered by Plaintiffs – was attributed

to Clearview’s counsel. (Dkt. 539 at 5-6.)
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       And Clearview admits that it has never run a keyword search on its database for

Plaintiffs’ names or other identifiers, or for “Illinois” to enable Plaintiffs to rebut Clearview’s

extraterritoriality defense. Astoundingly, Clearview asserts that it is not required to perform

keyword searches because “[t]here is no Court order even mentioning this issue that could form

the basis for Rule 37(b) sanctions.” (Dkt. 539 at 2.) In other words, Clearview purports to excuse

its failure to search its database for information relating to Plaintiffs (as well as scraped websites

in Illinois) because it has never been specifically ordered to do so.

       This Court’s Orders did not place limitations on Clearview’s discovery obligations. The

Court twice ordered Clearview to produce all documents relating to Plaintiffs, first on December

20, 2021 (Dkt. 237), and again on August 18, 2022 (Dkt. 425). In the latter order, the Court also

agreed with Plaintiffs that “the Clearview Defendants’ extraterritoriality defense puts at issue

their scraping of internet websites in [Illinois]” and ordered Clearview to “run ESI searches using

[Illinois] as search terms and produce documents responsive to Plaintiffs’ Request for Production

No. 6.” (Dkt. 425 at 9-10.) By its own admission, Clearview has not done so on the database that

contains the URLs from which Plaintiffs’ biometrics were obtained.

       In short, after multiple Court orders, multiple untrue representations to the Court as to

compliance, and a false verification that was intended to assuage concerns that Clearview’s

production was complete, Clearview still hasn’t complied with its fundamental obligation to

produce all documents relating to Plaintiffs and as to its extraterritoriality defense. Clearview has

run out of excuses; sanctions are appropriate.




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                                           ARGUMENT

I.       Clearview Has Repeatedly Violated this Court’s Orders

         A.     Documents Relating to Plaintiffs

         Clearview’s assertion that it has not violated the Court’s orders is flat-out wrong. With

respect to the documents relating to Plaintiffs, Clearview’s first, second, and third attempts to

comply with the order to produce all documents were all incomplete. Moreover, Clearview’s

own affidavit – in addition to failing to meet the Court’s requirement that it verify that

Clearview’s “production of documents concerning the named Plaintiffs is fully completed” as of

September 1, 2022 (Dkt. 425 at 5) – shows that even today Clearview cannot affirm that its

production is complete. Mr. Mulcaire’s declaration detailed a process which demonstrated that

Clearview’s probe image search method does not return all documents relating to the plaintiff in

question. To the contrary, Mr. Mulcaire testified that when he first ran Plaintiff Hall’s image, the

search returned 41 results. He then ran further searches using the results of the first search, and

ultimately identified 78 images of Plaintiff Hall in Clearview’s database. In other words, the

initial search resulted in only an approximate 50% hit rate at best. Tellingly, Mr. Mulcaire did

not assert that those 78 images were the sum total of all of the documents relating to Plaintiff

Hall in Clearview’s database. Nor could he, because his description of the search process itself

demonstrates that the probe image searches do not capture all of the images associated with the

person being searched.

         A reasonable search process under the circumstances would include not only the probe

image search described by Mr. Mulcaire, but also a standard ESI keyword search of Clearview’s

database for Plaintiffs’ names and other identifying information. According to Clearview, such a

search cannot be run on the SpeedyDB database, but there is no dispute that such a search can be

run on the PostgreSQL database. Clearview has simply refused to do it.


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       In short, just with respect to the documents relating to the named Plaintiffs, Clearview

has violated this Court’s Orders of December 20, 2021 (Dkt. 237) and August 22, 2022 (Dkt.

425). Clearview was ordered to produce all documents in its database relating to Plaintiffs, and it

was ordered to provide verification that its production was complete. Clearview has done neither.

       B.      Contract Documents

       Clearview’s Response also admits that it violated the Court’s order that it produce “any

outstanding contract documents within 14 days” of the Court’s August 18, 2022 Order. (Dkt. 425

at 7.) Mr. Mulcaire’s declaration purported to verify that Clearview’s “production of the relevant

contract documents [wa]s complete” as of September 1, 2022. Following inquiry from Plaintiffs,

Clearview discovered and produced additional contract documents after providing the

verification, and well outside the Court’s 14-day deadline. Thus, as with the documents relating

to Plaintiffs, Clearview’s violation of the Court’s Order to produce all contract documents is not

capable of dispute.

       Moreover, Clearview’s explanation as to why it had falsely verified the completeness of

its production inspires no confidence in its current assertion that it “produced all responsive

contract documents by October 7, 2022.” (Dkt. 539 at 9.) As detailed in Mr. Mulcaire’s

declaration offered in support of the Response, he discovered additional contract documents by

(a) searching for draft termination letters and (b) discovering that some contract documents were

contained in a workspace he had not previously searched. (Dkt. 539-1, ¶ 11-12.) Given that Mr.

Mulcaire apparently neither searched for drafts nor searched in all of the workspaces in which

contract documents might be located prior to first verifying that all contract documents had been

produced, even today neither Plaintiffs nor the Court can have any confidence that all such

documents have been produced.




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        C.      ESI Search for “Illinois” in the PostgreSQL Database

        As with the documents relating to Plaintiffs and contract documents, Clearview’s

Response admits noncompliance with this Court’s Order. In its August 2022 Order, the Court

agreed with Plaintiffs that “the Clearview Defendants’ extraterritoriality defense puts at issue

their scraping of internet websites in relevant states. …” (Dkt. 425 at 9.) The Court then ordered

Clearview to “run ESI searches using the relevant state names as search terms and produce

documents responsive to Plaintiffs’ Request for Production No. 6.” Id. at 9-10. Clearview later

confirmed that the extraterritoriality defense was limited to Illinois, and thus was obligated to run

ESI searches for only one state name.

        Although Clearview contends that following the Court’s Order it “reviewed and produced

thousands of documents that hit on the keyword ‘Illinois’,” (Dkt. 539 at 11), Clearview does not

explain what, exactly, it ran the search on. What is clear, however, is that Clearview did not run

this search on its PostgreSQL database of URLs, which is apparently the only database which

can provide information as to the “scraping of internet websites in” Illinois. Again, Clearview’s

failure to comply with the Court’s Order is clear.

        Clearview attempts to sidestep its noncompliance by suggesting that performing a

keyword search on the PostgreSQL database is a “new” issue that has never been addressed by

the Court. As noted above, however, the Court did not place limitations on Clearview’s

obligations to run ESI searches to produce information relating to Clearview’s scraping of

websites in Illinois. While Clearview has belatedly brought a motion for protective order on this

subject, 1 it sought no such protection prior to purporting to comply with the Court’s Order, much




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  Clearview’s motion for protective order is without merit for the reasons set forth in Plaintiffs’ Response
to Clearview Defendants’ Motion for Protective Order. (Dkt. 540.)


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less as a basis for limiting the Court’s Order when opposing Plaintiffs’ Motion to Compel. (See

Dkt. 402.)

       Simply put, Clearview has a database of scraped URLs that is searchable by keyword.

The Court ordered Clearview to run ESI searches using the word “Illinois” to provide

information relating to its scraping of websites in Illinois. If Clearview scraped Plaintiffs’ images

from websites maintained in Illinois, Plaintiffs and the Court are entitled to know that. If

Clearview is unwilling to undertake that search despite the Court’s order that it do so, the

sanction of striking the defense requested in Plaintiffs’ Motion for Discovery Sanctions is wholly

appropriate.

II.    Plaintiffs Seek Compliance with the Court’s Orders, not Perfection

       Having effectively admitted its noncompliance with the Court’s Orders, Clearview argues

that its noncompliance should be excused because the discovery rules do not call for

“perfection.” Plaintiffs have never suggested that perfection is the standard; to the contrary,

Plaintiffs agree that Clearview should be judged by a reasonableness standard. The facts here

show Clearview has fallen far short.

       It is not reasonable for a party to represent – repeatedly, both to Plaintiffs and the Court –

that its production is complete after an order compelling production has been issued, only for

Plaintiffs to repeatedly discover those representations to be false. It is not reasonable for a party

to provide a Court-ordered verification that its production is complete, only to once again have

Plaintiffs discover the verification is false. It is not reasonable for a party’s General Counsel to

aver that all contract documents have been produced, only to find afterward that he did not know

where all of such documents are kept. It is not reasonable for a party to flatly refuse to run

keyword searches of the only database available for such searches – after being compelled to do




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so by Court order – based solely on vague complaints that such searches would be costly and

time-consuming.

        Plaintiffs did not move for sanctions after the first time they discovered that Clearview

had failed to comply with the Court’s orders. Nor the second. Nor the third. Indeed, Plaintiffs did

not even seek sanctions after they discovered that Mr. Mulcaire’s court-ordered verification of

completeness was false. Rather, Plaintiffs continued to try to work with Clearview, including

offering various solutions for searching the PostgreSQL database, and even offering to conduct

the searches itself.

        But sanctions are now appropriate. Clearview has not only failed to comply with multiple

court orders, but it has refused to conduct the searches ordered by the Court, despite Plaintiffs’

offers of assistance. Plaintiffs do not expect perfection, but they and the Court are entitled to

reasonable and good faith efforts to conduct discovery and comply with the Court’s orders.

Clearview has done neither.

III.    Clearview’s Noncompliance is not Excused by Good Faith or Lack of Prejudice

        Clearview’s citation to cases denying imposition of sanctions due to the “good faith” of

the offending party are inapplicable here. As the Response notes, the court in Radiologix, Inc. v.

Radiology & Nuclear Medicine, LLC, 2019 WL 354972 (D. Kan. Jan. 29, 2019) declined to

award sanctions due to a single issue of noncompliance that was caused by a technical issue

which was quickly rectified. Similarly, Sapia v. Bd. Of Educ. Of City of Chi., 2020 WL

12139021 (N.D. Ill. Nov. 30, 2020) arose from a single late production for which the defendant

provided an adequate explanation.

        Here, in contrast, Clearview has – due to mistakes purportedly made by its vendor, its

counsel, its General Counsel – repeatedly misrepresented that its production was complete. The

Court ordered it to provide a verification that its production was complete, which verification


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was false. And now it simply refuses to conduct keyword searches on the PostgreSQL database,

all but guaranteeing that its production remains incomplete. Unlike the offending parties in its

cited cases, Clearview’s lack of compliance has been persistent and long-standing, and

Clearview remains out of compliance with the Court’s orders even today.

       Clearview’s lack of prejudice argument fares no better. Plaintiffs’ counsel has invested

hundreds of hours in repeatedly having to review Clearview’s faulty productions, bring multiple

motions to compel, and explain to Clearview ad nauseum why its production was incomplete.

This prejudice alone justifies awarding Plaintiffs their attorneys’ fees caused by Clearview’s lack

of compliance.

       But far more prejudicial is Clearview’s outright refusal to run keyword searches on the

PostgreSQL database. Without those searches, Plaintiffs are severely handicapped in establishing

both the extent of Clearview’s BIPA violations for each Plaintiff, as well as rebutting

Clearview’s assertion of its extraterritoriality defense. As Clearview itself notes, the sanction of

striking defenses is justified by willful or repeated disobedience of a court order. (Dkt. 539 at

15.) There can scarcely be a more vivid example of willful disobedience than Clearview’ s

refusal to run keyword searches after being ordered by the Court to do so.

       Courts in the Seventh Circuit agree. In Logan v. Gary Community School Corp., 2009

WL 187811 (N.D. Ind. Jan. 23, 2009), the court (like here) ordered the defendants to comply

with discovery obligations by a date certain, and to provide a verification that the production of

documents was complete. Like Clearview here, the defendants had “a long history of

noncompliance with Court Orders” relating to discovery. Id. at * 1. While the court considered

entry of default judgment as an appropriate sanction, it determined that the less harsh remedy




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was to strike the defendants’ affirmative defenses which “directly relate[d] to the substance of

the discovery sought by Plaintiff.” Id. at 2. The same analysis is appropriate here.

       Clearview also complains that Plaintiffs provided no authority for the suggestion that an

appropriate sanction would be to appoint a Special Master to conduct the searches or permit

Plaintiffs to do so. Federal Rule of Civil Procedure 53, however, authorizes the use of a Special

Master to “address pretrial and posttrial matters that cannot be effectively and timely addressed

by an available district judge or magistrate judge of this district.” Fed. R. Civ. P. 53 (a)(1)(C).

Assuming that there is not an available district judge or magistrate judge with the ability to

timely conduct the necessary searches, appointment of a Special Master to conduct such an in

camera review is wholly appropriate.

                                          CONCLUSION

       Time after time, the Court has granted Clearview the opportunity to cure its discovery

missteps in this case. Time after time, Clearview has averred that it has done so. Time after time,

Plaintiffs have discovered that Clearview’s averments were false. And now, Clearview simply

refuses to conduct the searches that would locate additional documents relating to Plaintiffs and

determine which websites, if any, have been scraped in Illinois. Sanctions are appropriate, and

Plaintiffs respectfully request that the Court grant this motion, enter sanctions against Clearview,

and award Plaintiffs all such further relief the Court deems just and proper.

Dated: May 5, 2023                             Respectfully submitted:



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                                CERTIFICATE OF SERVICE

       I, Thomas M. Hanson, an attorney, hereby certify that, on May 5, 2023, I filed the foregoing

document using the Court’s CM/ECF system, which effected service on all counsel of record.



                                                     /s/ Thomas M. Hanson
                                                     Thomas M. Hanson
